

People v Irizarry (2021 NY Slip Op 06058)





People v Irizarry


2021 NY Slip Op 06058


Decided on November 04, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 04, 2021

Before: Gische, J.P., Mazzarelli, Shulman, Pitt, Higgitt, JJ. 


Ind No. 1454/17 Appeal No. 14533 Case No. 2019-04340 

[*1]The People of the State of New York, Respondent,
vRobert Irizarry, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Jody Ratner of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Alexander Michaels of counsel), for respondent.



Judgment, Supreme Court, New York County (Patricia M. NuÑez, J. at plea; Guy H. Mitchell, J. at sentencing), rendered August 8, 2019, convicting defendant of grand larceny in the fourth degree, and sentencing him to a term of 2 to 4 years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of reducing the sentence to a term of 1½ to 3 years, and otherwise affirmed.
We find the sentence excessive to the extent indicated. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 4, 2021








